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 for the Substantively Consolidated SIPA Liquidation
 of Bernard L. Madoff Investment Securities LLC
 and the Estate of Bernard L. Madoff

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK


 SECURITIES INVESTOR PROTECTION                        Adv. Pro. No. 08-01789 (SMB)
 CORPORATION,
                                                       SIPA Liquidation
                                 Plaintiff,
                                                       (Substantively Consolidated)
                   v.

 BERNARD L. MADOFF INVESTMENT
 SECURITIES LLC,

                                 Defendant.

 In re:

 BERNARD L. MADOFF,

                                 Debtor.

 IRVING H. PICARD, Trustee for the Liquidation of      Adv. Pro. No. 10-04479 (SMB)
 Bernard L. Madoff Investment Securities LLC,

                                 Plaintiff,
                   v.

 BERNARD GREENMAN MARITAL DEDUCTION
 TRUST,

 GREENMAN FAMILY FOUNDATION, INC.,

 PHYLLIS GREENMAN, individually, as Successor
 Trustee and Beneficiary of the Bernard Greenman
 Marital Deduction Trust,

 LESTER GREENMAN, individually and as
 Beneficiary of the Bernard Greenman Marital
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 Deduction Trust,

 JUDITH KATZ, individually and as Beneficiary of the
 Bernard Greenman Marital Deduction Trust, and

 STEWART KATZ, individually,

                                    Defendants.



                        AMENDED CASE MANAGEMENT NOTICE

        PLEASE TAKE NOTICE, that pursuant to the Order (1) Establishing Litigation Case

 Management Procedures for Avoidance Actions and (2) Amending the February 16, 2010

 Protective Order (the “Order”) [Dkt. No. 3141] entered by the Bankruptcy Court in the above

 captioned SIPA liquidation, Adv. Pro. No. 08-01789 (SMB), on November 10, 2010, the

 following deadlines are hereby made applicable to this adversary proceeding:

 1.     Fact Discovery, and responses to discovery, shall be completed by: August 15, 2016.

 2.     The Disclosure of Case-in-Chief Experts shall be due: October 14, 2016.

 3.     The Disclosure of Rebuttal Experts shall be due: November 14, 2016.

 4.     The Deadline for Completion of Expert Discovery shall be: February 13, 2017.

 5.     The Deadline for Service of a Notice of Mediation Referral shall be: On or before

        March 15, 2017.

 6.     The Deadline to Choose a Mediator and File a Notice of Mediator Selection shall be: On

        or before March 29, 2017.

 7.     The Deadline for Conclusion of Mediation shall be: On or before July 27, 2017.




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 Dated: New York, New York                    BAKER & HOSTETLER LLP
        June 15, 2016

                                              By: /s/ Keith R. Murphy       .
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                                              Liquidation of Bernard L. Madoff Investment
                                              Securities LLC and the Estate of Bernard L.
                                              Madoff




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